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                                                                                             EXHIBIT - P

From:                               Greg Cohen <gcohen@colonialventuresllc.com >
Sent:                               Sunday, October 3, 2021 11:46 PM
To:                                 Barry Honig
Subject:                            Fwd: Amendment to Contract v3.docx
Attachments:                       Amendment to Contract-Signed.pdf



See below & attached

Gregory D. Cohen
(973) 699-4714 (C)
(212) 851-6425 (W)
Sent from my iPhone

Begin forwarded message:

         From: George Warren <george@frankwarrensqp.com>
         Date: October 2, 2021 at 2:44:38 PM EDT
         To: Gcohen <gcohen@gcpboxing.com>
         Subject: Re: Amendment to Contract v3.docx


         Greg - see signed document attached.



         Many thanks,



         George

        From: Gcohen <gcohen@gcpboxing.com>
        Sent: Thursday, September 30, 2021 3:15 PM
        To: George Warren <george@frankwarrensqp.com>
        Subject: Amendment to Contract v3.docx


         George, please see document attached with the edits you requested. Please review and if acceptable please
         send back signed. Thank you



         Gregory D. Cohen
         (973) 699-4714 (C)
         (212) 851-6425 (W)
         Sent from my iPhone
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  AMENDMENT TO AGREEMENTS BETWEEN BULLDOG BOXING PROMOTIONS
              LLC AND QUEENSBURY PROMOTIONS LTD.



         THIS AGREEMENT (the "Amendment") is entered into as of the __ day of September,
 2021, between and among, Bulldog Boxing Promotions LLC, with an address at 25B Spring
 Street, Millburn, New Jersey 07041 ("Bulldog") and Queensbury Promotions Ltd., company
 number 73591 Tumford PI., Tumford, England, EN10 6NH ("Queensbury")

                                       WITNESSETH:


        WHEREAS, on or about March 5, 2021, Bulldog and Queensbury entered into an
 agreement (the "Agreement") regarding the co-promotion and profit sharing for certain bouts,
 including bouts of professional boxer Daniel Dubois ("Dubois"); and


        WHEREAS, in connection with the Agreement, Queensbury owes certain funds to
 Bulldog relating to its obligations under the Agreement in the amount of $350,000, with such
 funds being overdue and unpaid; and


         WHEREAS, Bulldog and Queensbury entered into a settlement agreement dated July 13,
 2021 (the "Settlement Agreement") to resolve outstanding fees due and owing from Queensbury
 to Bulldog; and


        WHEREAS, Queensbury failed to make payment of the funds owing to Bulldog
 pursuant to the Settlement Agreement; and


         WHEREAS, the parties have negotiated a resolution of the unpaid amounts due under
 the Settlement Agreement and have agreed to enter into this Amendment which shall modify and
 amend both the Agreement and the Settlement Agreement; and


         WHEREAS, the Parties hereto seek to memorialize the terms of their agreement by this
 writing.


         NOW, THEREFORE, in consideration of the mutual covenants and agreements herein
 contained and other good and valuable consideration, receipt of which is hereby acknowledged,
 and intending to be mutually bound, it is herein agreed as follows:



        1.       Incorporation of Recitals.           All of the above recitals are hereby
 incorporated herein and made part of this Agreement.



        2.           Acknowledgments,      Representations,   Warrants    and   Covenants    by_
 _Oueensbury_


        0.) Queensbury acknowledges the validity of the Agreement and the Settlement
 Agreement and waives any defenses to the enforcement of such agreements.



        (b) Queensbury acknowledges that it is indebted to Bulldog in the amount of $350,000
 due and owing as memorialized in the Settlement Agreement and that such indebtedness is due
 to Bulldog by Queensbury without any defense, offset, right of setoff, counterclaim or claim of
 recoupment whatsoever (the "Indebtedness"); and
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        3.        Terms of Amendments



         a.       Bulldog shall be entitled to receive 50% of the Net Profits relating to each of the
 next 3 Dubois bouts; 40% on the fourth Dubois bout and 35% on the fifth Dubois bout. Such
 payment of Net Profits shall be as co-promotor of such bouts, and shall include, without
 limitation, income derived from all sources, and as further expanded in the definition of Net
 Profits contained in Article 4 of the Agreement (the 5 bouts collectively hereinafter referred to as
 the "Dubois Bouts"). Queensbury further agrees that the Dubois Bouts may only be scheduled
 with the consent of Bulldog, including the selection of any opponent and the fight arrangements.
  In the event that Queensbury wishes to proceed forward with scheduling any Dubois fight that
 has not been consented to by Bulldog, Bulldog shall have the right to opt-out of such Dubois
 fight--and such fight shall not count toward the 5 Dubois Bouts for which Bulldog is to co-
 promote and receive payment of Net Profits.


        b.         Bulldog shall be deemed to be the co-promotor of the Dubois Bouts.
  Notwithstanding, all expenses relating to Dubois Bouts, including all promotional expenses,
 shall be solely and exclusively the responsibility of Queensbury. Queensbury represents and
 warrants that Dubois has consented to such co-promotional arrangement for the Dubois Bouts.



         c.        All expenses relating to any of the Dubois Bouts shall be approved by Bulldog
 in advance and in writing such that Net Profits shall be calculated prior to any bout. Bulldog’s
 50% share of the Net Profits shall be paid to Bulldog directly by the broadcast partner (including
 any television, cable or other broadcaster) and by the box office, and Queensbury shall provide
 written instructions directing these funds, and any other funds to which Bulldog is entitled under
 this Amendment relating to such bouts, to be paid to Bulldog directly (the "Bulldog Share").
  Written letters of instruction shall be sent to such entity/person at least 30 days in advance of
 each of the Dubois Bouts instructing direct payment to Bulldog.



        d.      Upon the satisfaction of the foregoing, Bulldog agrees to forgive the
 Indebtedness owing by Queensbury.



         e.        For purposes of clarify, the Amendment, as well as any continued performance
 under the Agreement or the Settlement Agreement, shall be governed by and construed in
 accordance with the laws of the State of Jersey without reference to principles of conflicts of
 laws. The parties hereto each consent to the exclusive jurisdiction over any disputes relating to
 or arising from the Amendment, the Agreement or the Settlement Agreement in the Federal and
 State Courts located in New Jersey, Essex County.



                  Paragraph 9 of the Agreement is hereby deleted in its entirety.



        g.         All other terms of the Agreement and Settlement Agreement not otherwise
 modified herein, shall remain in full force and effect. The terms of the Amendment shall
 supersede the Agreement and Settlement Agreement in the event of any inconsistency.




        4.        Amendments and Waivers.



        (a)        This Amendment cannot be modified, amended, altered, waived, changed or
 discharged, either orally or by course of dealing between the parties. This Amendment can only
 be amended by a written agreement, executed on behalf of the party against whom enforcement

 of any such waiver, change, modification or discharge is sought.



        (b)        Any rights or remedies provided for in this Agreement may be exercised singly
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 or concurrently, as such party may elect.


        5.        Construction/Ca.ptions/Severability/Etc.



         (a)       Any provision hereof which shall be determined by competent authority to be
 prohibited or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the
 extent of such prohibition or unenforceability, without invalidating the remaining provisions
 hereof, and any such prohibition or unenforceability in any jurisdiction shall not invalidate or
 render unenforceable such provisions in any other jurisdiction. Any such provision may be blue-
 lined by a court of competent jurisdiction to give effect to the intent of the parties herein.


      6.    Waiver of Jury Trial. THE PARTIES HERETO HEREBY WA1VE
 THEIR RIGHT TO A TRIAL BY JURY IN ANY LITIGATION RELATING TO THE
 SUBJECT MATTER HEREOF AND/OR TO THE AGREEMENTS, DOCUMENTS AND
 INSTRUMENTS OF ANY PARTY EVIDENCING, SECURING AN/OR GOVERNING
 THE OBLIGATIONS OF PARTIES.



         7.       Further Assurances. Queensbury hereby agrees to execute and deliver any
 and all additional documents requested by in order to effectuate the terms of this Amendment
 including, but not limited to written directions to all persons necessary to provide direct payment
 to Bulldog of the Bulldog Share.


        8.       Counterparts. This Amendment may be executed in counterparts, each of
                              which
 will be deemed an original document, but all of which together shall constitute but a single
 document. For the purposes of this Agreement, faxed and/or emailed copies shall be deemed
 originals.

        IN WITNESS WHEREOF, the undersigned have set their hands and seals and/or
 caused this Amendment to be signed by their proper corporate or company officers or
 representatives effective the day and year first written above.



 QUEENSBURY PROMOTIONS LTD                                BULLDOG BOXING PROMOTIONS
 LLC


 By_: \~       ",v ,~,
     Georg-e~Var}en, CEO
